                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF CALIFORNIA

                                                 Minute Order
Hearing Information:
                                                                                                              0.00
                     Debtor:   JOHN R. GORMAN
               Case Number:    17-02958-MM13           Chapter: 13
      Date / Time / Room:      WEDNESDAY, MAY 30, 2018 10:00 AM DEPARTMENT 1
       Bankruptcy Judge:       MARGARET M. MANN
        Courtroom Clerk:       GREGG ROBINSON
          Reporter / ECR:      LYNETTE ALVES

Matter:
              MOTION FOR RELIEF FROM STAY, RS #KZ-1 FILED BY U.S. BANK TRUST



Appearances:

        DAVID SPECKMAN, ATTORNEY FOR JOHN GORMAN
        RUSSEL LITTLE, ATTORNEY FOR U.S. BANK TRUST
Disposition:                                                                                   1.00

        Adequate Protection Order with terms of 12 months to be submitted. Debtor to make a payment
        of the terms of the APO by 6/15/18. Presumptively reasonable fees are permitted to the extent
        not separately paid by the Debtor(s), and to the extent funds on hand for this purpose.




Page 1 of 1                                                                                5/31/2018    3:04:03PM
